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         ORDERED in the Southern District of Florida on January 25, 2018.




                                                              Laurel M. Isicoff
                                                              Chief United States Bankruptcy Judge




_____________________________________________________________________________




                                     UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                                    www.flsb.uscourts.gov

 In re: Juan Carlos De Leon                                Case No. 17-15633-LMI
                                                                Chapter 13


                         Debtor        /

                    AGREED ORDER SUSTAINING DEBTOR’s OBJECTION TO CLAIM

        This matter having been considered without hearing upon the Debtor's Objection to Claim[s] [DE #76], and the
objector by submitting this form order having represented that the objection was served on the parties listed below, that
no one listed below has filed, or served on the objector, a response to the objection, and that the relief to be granted in
this order is the identical relief requested in the objection, and this court having considered the basis for the objection to
the claim, it is

ORDERED that Debtor's objection[s] to the following claim is sustained:

Claim holder                                      Claim No.                        Disposition

Asset Management Acceptance                       2-1                              Debtor’s objection sustained.
Corp. d/b/a AMAC, LLC




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and the claim shall be classified as a secured claim in the amount of $ 8,876.72 at 6% in full satisfaction of the
lien, provided the Debtor pays the claim in full and receives a discharge.

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 Submitted by:


 Jacqueline C. Ledón, Esquire, Legal Services of Greater Miami, Inc., 4343 W. Flagler Street, Suite 100, Miami, FL
 33134.

 The party submitting the order shall serve a copy of the signed order on all required parties and file with the court a
 certificate of service conforming with Local Rule 2002-1(F).




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